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                      IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

 UNITED STATES OF AMERICA                                       PLAINTIFF/RESPONDENT

 v.                           Case No. 5:10-CR-50067-003

 TIFFNEY R. FEDELE                                              DEFENDANT/PETITIONER



                                  OPINION AND ORDER

        Currently before the Court are the Report and Recommendation (“R&R”) (Doc. 171)

 filed in this case on March 31, 2014, by the Honorable Erin L. Setser, United States

 Magistrate Judge for the Western District of Arkansas, regarding Petitioner Tiffney R.

 Fedele’s 28 U.S.C. § 2255 Motion to Vacate, Set Aside, or Correct Sentence (Doc. 98) and

 Petitioner’s Objections to the R&R (Doc. 176). In light of Petitioner’s Objections to the

 R&R, the Court has conducted a de novo review of the record, focusing in particular on the

 portions of the R&R to which specific objections have been made, in accordance with 28

 U.S.C.§ 636(b)(1)(C). After review, the Court finds that the objections lodged by Petitioner

 offer neither law nor fact requiring departure from the Magistrate’s findings. Accordingly,

 the Magistrate’s R&R (Doc. 171) is ADOPTED IN ITS ENTIRETY and Petitioner’s § 2255

 Motion to Vacate (Doc. 98) is DENIED.

                                       I. Background

        On September 15, 2010, Petitioner was charged in a twelve-count Superseding

 Indictment, along with two co-conspirators, Jason Fedele and James Mitchell. (Doc. 29).

 On December 6, 2010, Petitioner entered into a Plea Agreement (Doc. 62) wherein she

 agreed to plead guilty to two of the twelve counts in the Superseding Indictment. Petitioner

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 pleaded guilty to Count One–conspiring to use an interstate facility tp distribute proceeds

 of an unlawful activity, and to promote, manage, establish, carry on, and facilitate such

 unlawful activity, namely prostitution, in violation of 18 U.S.C. §§ 1952(a)(1) and (3) (the

 Travel Act), and 18 U.S.C. § 371. Petitioner also pleaded guilty to Count Two–conspiring

 to launder the proceeds of the above unlawful activity, in violation of 18 U.S.C.

 §§1956(a)(1) and (h). (Doc. 62). On July 7, 2011, Petitioner was sentenced to 21 months

 imprisonment on both Counts, with the terms to run concurrently. Petitioner did not appeal

 the judgment. On July 12, 2012, Petitioner filed the present § 2255 Motion to Vacate,

 asserting six grounds for relief. The Magistrate recommended denying the Motion on all

 six grounds.

        Petitioner now offers objections in response to the Magistrate’s recommendations

 as to grounds one, three, and four.1 As to grounds one and four, Petitioner fails to

 acknowledge the Magistrate’s initial determination that these arguments were procedurally

 defaulted because they were not brought on direct appeal. The Court agrees with the

 Magistrate’s analysis as to procedural default and finds that grounds one and four merit

 dismissal due to this reasoning alone. However, the Court will address Petitioner’s

 substantive objections as to grounds one and four—along with ground three.

        First, as to ground one, Petitioner objects that her conviction should be deemed

 illegal because Congress never defined “proceeds” in 18 U.S.C. § 1952 and did not define

 “proceeds” within 18 U.S.C. § 1956 until after the Supreme Court’s ruling in United States

 v. Santos. Thus, Petitioner argues that the term is ambiguous and should be construed


 1
 Petitioner abandoned grounds two, five, and six in her Objections to the R&R.
 Consequently, those are not addressed in the Court’s Order.

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 in her favor, under the rule of lenity, as “profits,” rather than “receipts.” If the terms

 “proceeds” is construed to mean “profits,” Petitioner maintains that her conviction should

 be vacated because she did not profit from unlawful activity.

        Second, as to ground three, Petitioner asserts that her plea was involuntary and

 unknowing due to ineffective assistance of counsel. She mentions that she was

 misinformed regarding the requirements for a guilty verdict in any trial charging her with

 promoting prostitution. She requests an evidentiary hearing in order to further develop this

 argument for the Court’s benefit.

        Third, as to ground four, Petitioner argues that the charges against her were false

 due to prosecutorial misconduct. She also requests an evidentiary hearing as to this

 objection.

                                        II.Discussion.

              A. Ground One: Defect based on United States v. Santos.

        Petitioner contends that the term “proceeds” found in 18 U.S.C. §§1952 and 1956

 is ambiguous, in that it is not defined in § 1952, and was not defined within § 1956 until

 after the Supreme Court decision in United States v. Santos. Petitioner maintains that

 because she was convicted under this ambiguous term, her conviction is “illegal.” (Doc.

 176, pp. 1-2). Petitioner argues that she “was only charged with conspiring . . . to distribute

 the ‘proceeds’ of an unlawful activity and [her case] is analogous to Santos.” (Doc. 98, p.

 4).

        As correctly stated in the Magistrate’s R&R, when Santos was decided in 2008, the

 federal money laundering statute at 18 U.S.C. § 1956 did not define the term “proceeds.”

 A divided Supreme Court found that proceeds referred to profits rather than receipts, in the

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 illegal gambling context. However, following the Supreme Court’s holding in Santos,

 Congress amended § 1956 to define the term “proceeds” to include gross receipts. Fraud

 Enforcement and Regulatory Act of 2009, Pub. L. 111-21, § 2(f)(1)(B), 123 Stat. 1617,

 1618; see 18 U.S.C. § 1956(c)(9). Because Petitioner pleaded guilty in 2010, the statute

 and not the Santos definition is applicable to her case. Therefore, Petitioner’s challenge

 to her conviction is without merit.

        Petitioner apparently adopts her co-conspirator’s brief (Case No. 5:10-CR-50067-

 001, Doc. 166), which raises an ineffective assistance of counsel allegation in regard to

 counsel’s failure to raise the Santos argument. Petitioner contends that because counsel

 did not raise this defect, she received ineffective assistance of counsel. Under the two-part

 test announced in Strickland v. Washington for determining the validity of an ineffective

 assistance of counsel claim, Petitioner must show that counsel's representation fell below

 an objective standard of reasonableness and that there is a reasonable probability that, but

 for counsel's errors, the result of the proceeding would have been different. Padilla v.

 Kentucky, 559 U.S. 356, 366 (2010). Under the deficient performance prong, Petitioner

 must show that her counsel “made errors so serious that counsel was not functioning as

 the ‘counsel’ guaranteed [her] by the Sixth Amendment.” Strickland v. Washington, 466

 U.S. 668, 687 (1984). The scrutiny of counsel’s performance is highly deferential, and

 there is a presumption that counsel’s conduct fell within the wide range of reasonable

 assistance. Id. at 689.

        In order to satisfy the prejudice prong, Petitioner must show that there is a

 reasonable probability that, but for counsel's unprofessional errors, the result of the

 proceeding would have been different. United States v. Rice, 449 F.3d 887, 897

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 (2006)(internal quotations omitted). Thus, it is not sufficient for Petitioner to show that the

 error had some “conceivable effect” on the result of the proceeding because not every error

 that influences a proceeding undermines the reliability of the outcome of the proceeding.

 Morales v. Ault, 476 F.3d 545 (8th Cir.2007) (citing Odem v. Hopkins, 382 F.3d 846, 851

 (8th Cir.2004)). In addition, to the extent that Petitioner's claims arise out the plea process,

 she must show a reasonable probability that, but for counsel's errors, she would not have

 pleaded guilty and would have insisted on going to trial. Hill v. Lockhart, 474 U.S. 52, 60

 (1985). Here, the Court may conclude its analysis at the deficient performance prong of

 the Strickland test and need not reach the prejudice prong, since Petitioner’s claim of a

 Santos defect was meritless, and it was therefore reasonable for counsel not to raise it.

 Thus, Petitioner’s first objection is overruled.

                            B. Ground Three: Actual Innocence

        Petitioner alleges that she is actually innocent and that her guilty plea was

 involuntary and unknowing due to ineffective assistance of counsel. She maintains her

 counsel misinformed her regarding the requirements for a guilty verdict, stemming from

 charges arising under 18 U.S.C. § 2422, and her Sixth Amendment rights were violated

 when counsel allowed her to plead guilty to charges counsel should have known the

 Government could not prove. Petitioner maintains her innocence as to all charges, despite

 the fact that she admitted at the plea hearing that she committed the offenses to which she

 was pleading guilty.

        As a preliminary matter, the record reveals that Petitioner did not, in fact, plead

 guilty to a violation of 18 U.S.C. § 2422, as it was one of the dismissed charges in the

 Superseding Indictment.      Moreover, Petitioner advances arguments contradicted by

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 stipulated facts in her signed guilty plea. First, she argues that the only proceeds that she

 and her co-conspirators distributed were the “agency fees” charged to their clients and that

 “escorts were not required to provide anything illegal to clients.” (Doc. 176, p. 3). Contrary

 to Petitioner’s contention that she did not knowingly use proceeds associated with

 prostitution, her signed Plea Agreement provides within the stipulated facts that “the

 investigation revealed that the escort service was actually an interstate and intrastate

 prostitution enterprise” (Doc. 62, p. 4) and that “Mitchell and his co-conspirators utilized

 banks and other financial institutions to conduct financial transactions with the proceeds

 of the prostitution enterprise.” Id. at 6. Further, the Plea Agreement states that “[t]he

 investigation identified Tiffney R. Fedele as an employee/business partner of Mitchell who

 conspired with Mitchell and others to operate the prostitution enterprise” and Petitioner

 made “deposits of proceeds derived from the prostitution business into bank accounts.” Id.

 at 8.

         Petitioner pleaded guilty to violating the Travel Act and to money laundering. To

 establish a violation of the Travel Act, the Government only had to prove that there was an

 unlawful activity—in this case, prostitution—that Petitioner had knowledge of the unlawful

 activity, and that she used interstate commerce to facilitate the carrying on of the activity

 or to distribute proceeds. United States v. Corona, 885 F.2d 766, 771 (11th Cir. 1989), cert.

 denied, 494 U.S. 1091 (1990).

         In her § 2255 Motion, Petitioner admits that she “KNEW some of the escorts had

 sexual relations with some of the clients some of the time.” (Doc. 98, p. 7). The Plea

 Agreement confirms this knowledge, as it states Petitioner “knew that prostitutes were

 engaging in sexual acts for monetary payment.” (Doc. 62, p. 5). Petitioner also admitted

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 that she “answered phones of the enterprise, directed prostitutes to call, drove prostitutes

 to calls, collected money from prostitutes, and interviewed and hired prostitutes.” Id. at 8.

        With respect to the money laundering charge, the Government was only required

 to prove that: (1) Petitioner conducted or attempted to conduct a financial transaction that

 affected interstate or foreign commerce; (2) the financial transaction involved property

 representing the proceeds of illegal activity; (3) Petitioner knew that the property

 represented the proceeds of illegal activity; and (4) Petitioner conducted the financial

 transaction knowing that the transaction was intended to promote the carrying on of illegal

 activity. United States v. Diaz-Pellegaud, 666 F.3d 492, 498 (8th Cir. 2012) cert. denied,

 133 S. Ct. 235 (2012) and cert. denied, 133 S. Ct. 245 (2012)(internal citations omitted).

        Again, Petitioner’s knowledge of the illegal activity and overt acts in conducting

 financial transactions to promote the illegal activity are well established. It appears

 Petitioner mistakenly believes that to convict her for violating the Travel Act and money

 laundering statutes, the Government was required to prove that Petitioner persuaded,

 induced, enticed, or coerced the acts of prostitution. As explained previously, no such

 burden of proof was required of the Government. Therefore, Petitioner’s argument that the

 Government could not prove its case against her is meritless. As it cannot be ineffective

 assistance of counsel to fail to raise a meritless argument, an evidentiary hearing is not

 warranted, and Petitioner’s second objection is overruled.

                       C. Ground Four: Prosecutorial Misconduct

        Lastly, Petitioner objects to ground four regarding prosecutorial misconduct,

 contending that her case was fabricated by the prosecution team using perjured testimony.

 However, Petitioner’s contention is belied by: (1) what she admits in the § 2255 Motion

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